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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

PRO-FOOTBALL, INC.,

                       Plaintiff,

               v.
                                                   Civil Action No. 1:14-cv-1043-LO-IDD
AMANDA BLACKHORSE, MARCUS
BRIGGS-CLOUD, PHILLIP GOVER, JILLIAN
PAPPAN, and COURTNEY TSOTIGH,

                       Defendants,

               and

UNITED STATES OF AMERICA,

                       Intervenor.

             PRO-FOOTBALL, INC.’S CONSENT MOTION FOR ENTRY OF
                             FINAL JUDGMENT

       Plaintiff Pro-Football, Inc. (“PFI”) moves the Court to enter judgment in its favor. The

grounds for granting this relief are as follows:

       1.      By complaint filed August 14, 2014, PFI filed this action against Amanda

Blackhorse, Marcus Briggs-Cloud, Phillip Gover, Jillian Pappan and Courtney Tsotigh

(“Defendants”) seeking judicial review of a decision issued by the Trademark Trial and Appeal

Board (“TTAB”) scheduling the cancellation of six of PFI’s federal trademark registrations:

Registration Nos. 1,606,810; 1,085,092; 987,127; 986,668; 978,824; and 836,122 (the

“Registrations”). (Dkt. 1.) The TTAB scheduled cancellation of the Registrations based on the

disparagement provision of § 2(a) of the Lanham Act, 15 U.S.C. § 1052(a). In its complaint, PFI
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raised, inter alia, constitutional challenges to § 1052(a), including that the statute violates the First

Amendment.

        2.      After Defendants answered (Dkt. 41), the United States intervened in this action to

defend the constitutionality of § 1052(a) (Dkt. 46).

        3.      After briefing and argument by the parties and the United States, the Court entered a

memorandum opinion and final judgment in favor of Defendants and against PFI, which, inter alia,

upheld the constitutionality of § 1052(a) under the First Amendment. (Dkts. 161 & 162.)

        4.      PFI filed a timely notice of appeal to the United States Court of Appeals for the

Fourth Circuit. (Dkt. 164.) While the appeal was pending, the Supreme Court of the United States

determined that the disparagement provision of § 1052(a) violates the free speech clause of the First

Amendment. Matal v. Tam, 137 S. Ct. 1744, 1751 (2017). In light of that ruling, PFI, Defendants

and the United States agreed that Tam controls the disposition of this action and that the Court

should enter judgment in PFI’s favor. See Pro-Football, Inc. v. Blackhorse, No. 15-1874 (4th Cir.)

(Dkts. 126-128.)

        5.      By an unpublished per curium opinion entered January 18, 2018, the Fourth Circuit

vacated this Court’s judgment and remanded the case “for further proceedings consistent with Tam.”

(Dkt. 171.)

        6.      PFI respectfully submits that, consistent with Tam, no further proceedings are

required and that final judgment should be entered in PFI’s favor.

        7.      Defendants and the United States consent to this relief.

        WHEREFORE, PFI requests entry of final judgment in its favor. A proposed form of

judgment is attached.

The parties do not seek oral argument on this motion.



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Dated: February 9, 2018

                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2018, I caused the foregoing pleading or paper to be filed

and served electronically by the Court’s CM/ECF system upon all registered users in this action.


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